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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF NEW YORK

NEW YORK STATE RIFLE AND PISTOL                  )
ASSOCIATION, INC., et al.,                       )
                                                 )
                       Plaintiffs,               )
                                                 )
       v.                                        )   Civil Action No. 1:18-cv-00134-BKS-ATB
                                                 )
STEVEN NIGRELLI, IN HIS OFFICIAL                 )
CAPACITY AS ACTING                               )
SUPERINTENDENT OF THE                            )
NEW YORK STATE POLICE, et al.,                   )
                                                 )
                       Defendants.               )

       NOTICE OF MOTION FOR ENTRY OF JUDGMENT UNDER RULE 58(d)

       PLEASE TAKE NOTICE that, pursuant to Rule 58(d) of the Federal Rules of Civil

Procedure and Local Civil Rules 7.1 and 58.1, Plaintiffs Brandon Koch, Robert Nash, and the New

York Pistol and Rifle Association, Inc. (collectively, “Plaintiffs”) and Defendants Steven Nigrelli,

in his capacity as Acting Superintendent of the New York State Police, and Richard McNally, in

his official capacity as Justice of the New York Supreme Court, Third Judicial District, and

Licensing Officer for Rensselaer County, move the Court to enter judgment for Plaintiffs.

       A memorandum of law in support of this Motion is filed herewith.

Dated: November 14, 2022                             Respectfully submitted,

                                                     /s/ John Parker Sweeney
                                                     John Parker Sweeney
                                                     James W. Porter III
                                                     Marc A. Nardone
                                                     Connor M. Blair
                                                     Bradley Arant Boult Cummings LLP
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                                                     Washington, D.C. 20036
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                                                     Counsel for Plaintiffs
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                               CERTIFICATE OF SERVICE

       I hereby certify that on November 14, 2022, I electronically filed the foregoing with the

Clerk of the Count using the CM/ECF system, and I hereby certify that service will be

accomplished by the CM/ECF system on all parties or their counsel.



Dated: November 14, 2022                           /s/ John Parker Sweeney
                                                   John Parker Sweeney

                                                   Counsel for Plaintiffs




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